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 8                                   UNITED STATES DISTRICT COURT
 9              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10 BRYON JACKSON,                                        Case No. 3:21-cv-08458-LB
11                      Plaintiff,                       (State Court Case No. RG21110499)

12             v.                                        [PROPOSED] ORDER GRANTING
                                                         DEFENDANT TARGET
13 TARGET CORPORATION,                                   CORPORATION'S MOTION TO
                                                         CONTINUE HEARING DATE FOR
14                      Defendant.                       MOTION FOR SUMMARY
                                                         JUDGMENT
15
                                                         [Motion for Administrative Relief]
16
                                                         Dept.:             Courtroom B
17                                                       Judge:             Hon. Laurel Beeler
18
              After reading and considering the papers filed in support of and in opposition to the motion
19
     of Defendant TARGET CORPORATION's Motion to Continue Hearing Date for Motion for
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     Summary Judgment, and good cause appearing,
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              IT HEREBY IS ORDERED THAT Defendant's Motion to Continue Hearing Date for
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     Motion for Summary Judgment is GRANTED. The hearing on Defendant's motion for summary
23
     judgment is continued from May 11, 2023, to _________________ at ______________ a.m./p.m.
24
25 DATED: _______________________

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27
                                                    HONORABLE LAUREL BEELER
28
     4855-4524-5536.1                                           Case No. 3:21-cv-08458-LB
        [PROPOSED] ORDER GRANTING DEFENDANT'S MOTION TO CONTINUE HEARING DATE FOR
                              MOTION FOR SUMMARY JUDGMENT
